            Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 1 of 7



                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

CANYON FURNITURE COMPANY                                §
    PLAINTIFF,                                          §
                                                        § CIVIL ACTION NO. 5:18-cv-00753
v.                                                      §
                                                        §
DANIEL RUEDA SANCHEZ, JULIO                             §
ALFONSO RODRIGUEZ VALDEZ,                               §
FURNITURE INDUSTRIES SERVICES,                          §
INC., & DISENOS INNOVADORES DE                          § DEMAND FOR JURY TRIAL
BAJA CALIFORNIA, S. de R.L. de C.V.                     §
       DEFENDANTS.                                      §

                                      NOTICE OF REMOVAL

       Daniel Rueda Sanchez, Julio Alfonso Rodriguez Valdez (together, “Individual

Defendants”) along with Furniture Industries Services, Inc., and Disenos Innovadores de Baja

California, S. de R.L. de C.V. (together, “Corporate Defendants” and collectively “Defendants”),

Defendants in the above styled action brought by Canyon Furniture Company (“Plaintiff”), give

notice of the removal of this action from the District Court of Bexar County, Texas 73rd Judicial

District Court:

                                          INTRODUCTION

       1.         Defendants desire to exercise their rights under the provisions of 28 U.S.C. §§ 1441,

et seq., to remove this action from the State District Court of Bexar County, Texas, in which said

action is now pending under the assigned style Canyon Furniture Company v. Daniel Rueda

Sanchez, Julio Alfonso Rodriguez Valdez (together, “Individual Defendants”), Furniture

Industries Services, Inc., and Disenos Innovadores de Baja California, S. de R.L. de C.V., Civ. No.

2018-cv-12648.

       2.         Plaintiff filed the above referenced action on July 10, 2018.



1
            Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 2 of 7



       3.      Defendants have not been served.

       4.      Regardless, Defendants have properly filed this notice within 30 days of Plaintiff’s

attempted service.

       5.      There has been a TRO hearing without notice in the state court as of the date of this

Notice of Removal.

       6.      The United States District Court for the Western District of Texas is the district

court for the district within which the state court action is pending.

       7.      Plaintiff seeks in this action claims against Defendants for in excess of

$1,000,000.00.

       8.      Plaintiff seeks in this action claims for Unfair Competition - Statutory

Misappropriation of Trade Secrets Texas Uniform Trade Secrets Act, Tex. Civ. Prac. & Rem. Code

§§ 134A.001, et seq. against Defendants.

       9.      Plaintiff seeks in this action claims for Unfair Competition - Common Law

Misappropriation against Defendants.

       10.     Plaintiff seeks in this action claims for Breach of Fiduciary Duty against Individual

Defendants.

       11.     Plaintiff seeks in this action claims for Breach of Confidential Relationship against

Individual Defendants.

       12.     Plaintiff seeks in this action claims for Breach of Duty of Loyalty against Individual

Defendants.

       13.     Plaintiff seeks in this a Temporary Restraining Order against Defendants.

       14.     Plaintiff seeks in this action claims for damages.

       15.     Plaintiff seeks in this action claims for Attorney Fees, Costs and Interest.



2
              Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 3 of 7



           16.      Plaintiff seeks in this action claims against Defendants for “Monetary relief in

excess of $1,000,000.00.”

           17.      This action is a civil action of which this Court has original jurisdiction under 28

U.S.C. §1332 and is one which may be removed to this Court by Defendants pursuant to the

provisions of 28 U.S.C. §1441(b) in that it is a civil action between citizens of different states and

the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.

                                      DIVERSITY JURISDICTION

Diversity of Citizenship

           18.      Diversity jurisdiction exists where the suit is between citizens of different states

and the amount in controversy exceeds the statutorily prescribed amount, in this case $ 75,000.1

           19.      Diversity jurisdiction requires complete diversity of citizenship between Plaintiffs

and Defendants.

           20.      Here, the sole Plaintiff is a Florida for-profit corporation whose principal place of

business is in the State of Florida.

           21.      At the time of filing of this action, all other times and at the present, Daniel Rueda

Sanchez is an individual and citizen of Mexico and resident of California and resides at 819 Chervil

Ct., Chula Vista, CA 91910.

           22.      At the time of filing of this action, all other times and at the present, Julio Alfonso

Rodriguez Valdez is an individual and citizen of Mexico and resident of Tijuana, Baja California,

Mexico and resides at Circuito Loma Dorada #19525, Fraccionamiento Loma Dorada, Tijuana,

BC, Mexico.




1
    See 28 U.S.C. § 1332(a).

3
            Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 4 of 7



        23.      At the time of filing of this action, all other times and at the present, Furniture

Industries Services, Inc. (“FIS”) is a California corporation having its principal place of business

at 2493 Roll Drive 210-554, San Diego, CA 92154.

        24.      At the time of filing of this action, all other times and at the present, Disenos

Innovadores de Baja California, S. de R.L. de C.V. (“Disenos”) is a Mexican corporation located

at Av. Roberto de La Madrid 1500-B Tijuana Baja California Norte 22170, with its principal place

of business in Tijuana, Baja California, Mexico.

        25.      At the time of filing of this action, all other times and at the present, the Defendant

individuals are a Mexican citizen residing in Mexico and a Mexican citizen residing in the state of

California and the corporate defendants are a Mexican corporation with a principal place of

business in Mexico and a California corporation with its principal place of business in the state of

California and have complete diversity as to Plaintiff, a Florida Corporation with its principle

places of business in the state of Florida.

        26.      Canyon Furniture Company was both at the time of the filing of this action, all other

times and at present a citizen and a resident of the State of Florida.

        27.      The Amount in Controversy is Facially Evident upon Plaintiff’s Filings

        28.      “The amount in controversy is ordinarily determined by the allegations of the

complaint, or, where they are not dispositive, by the allegations in the notice of removal."2

        29.      Plaintiff plead a specific amount in controversy of in excess of $1,000,000.00 in

the PLAINTIFF’S ORIGINAL PETITION.




2
 Martin v. Franklin Capital Corp., 251 F.3d 1284, 1289 (10th Cir. N.M. 2001) (citing Laughlin v. Kmart Corp., 50
F.3d 871, 872 (10th Cir. Okla. 1995).

4
              Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 5 of 7



        30.      Defendants’ allegations may be established in the notice of removal, or by

affidavit.3

        31.      Plaintiff seeks recovery for attorney’s fees and costs under Tex. Civ. Prac. & Rem.

Code § 134.005 and/or § 134A.005. Although costs are not a component of amount in controversy,

attorney’s fees awarded under state statues are included.

        32.      If a state statute provides for attorney's fees, such fees are part of the amount in

controversy.4

        33.      The attorney’s fees for pursing this case through verdict further increases Plaintiff’s

potential recovery, and thus the amount in controversy.

        34.      Plaintiff seeks in this action claims against Defendants for exemplary damages

which may further inflate the Plaintiff’s recovery.

        35.      Pursuant to 28 U.S.C. § 1446(d), all adverse parties are being provided with this

Notice of Removal, and a copy of this Notice of Removal is being filed with the clerk of Bexar

County, Texas, 73rd Judicial District Court.

        36.      Plaintiff demanded a jury in the state court action.

                                              JURY DEMAND

        37.      Defendants hereby demand a trial by jury.

                                               CONCLUSION

        For the reasons stated above, in that Plaintiff’s suit involves claims entirely within the

Federal District Court’s original diversity jurisdiction, Defendants ask the court to remove the




3
 Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995).
4
 Foret v. State Farm Bureau Life Ins. Co., 918 F.2d 534, 537 (5th Cir. 1990); see also 14A C. Wright & A. Miller,
Federal Practice & Procedure § 3712, at 176 (2d ed. 1985).

5
          Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 6 of 7



action now pending in State District Court of Bexar County, Texas, Cause No. 2008-ci-12648 to

the United States District Court for the Western District of Texas, San Antonio Division.

       DATED this 20th day of July 2018.

                                                    Respectfully submitted,




                                                    __________________________
                                                    By: Charles W. Hanor
                                                    Texas Bar No. 08928800

                                                    Hanor Law Firm PC
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                                                    ATTORNEYS FOR DEFENDANTS




6
          Case 5:18-cv-00753-OLG Document 1 Filed 07/20/18 Page 7 of 7



                                  CERTIFICATE OF SERVICE

       I, the undersigned counsel for the Defendants, do hereby certify that I have this day, July
20, 2018, served a true and correct copy of the above and foregoing pleading by filing in ECF and
by email and by fax to the following:

    Donna Kay McKinney
    Bexar County District Clerk
    101 W. Nueva, Suite 217
    San Antonio, Texas 78205

    Allan B. Diamond
    TX State Bar No. 05801800
    Rebecca A. Muff
    TX State Bar No. 24083533
    Two Houston Center
    909 Fannin, 37th Floor
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                                                    /Charles W. Hanor/______________
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7
